Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 1 of 72 PageID #: 8

                                                                        Service of Process
                                                                        Transmittal
                                                                        12/11/2020
                                                                        CT Log Number 538732178
   TO:     Olivia Gonzalez
           The Prudential Insurance Company of America
           Legal Department, 751 Broad St, 4th Fl
           Newark, NJ 07102

   RE:     Process Served in Louisiana

   FOR:    The Prudential Insurance Company of America (Domestic State: NJ)




   ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

   TITLE OF ACTION:                 ALLISON SAVOIE, Pltf. vs. THE PRUDENTIAL INSURANCE COMPANY OF AMERICA, Dft.
   DOCUMENT(S) SERVED:              -
   COURT/AGENCY:                    None Specified
                                    Case # 20203988
   NATURE OF ACTION:                Insurance Litigation
   ON WHOM PROCESS WAS SERVED:      C T Corporation System, Baton Rouge, LA
   DATE AND HOUR OF SERVICE:        By Certified Mail on 12/11/2020 postmarked: "Not Post Marked"
   JURISDICTION SERVED :            Louisiana
   APPEARANCE OR ANSWER DUE:        None Specified
   ATTORNEY(S) / SENDER(S):         None Specified
   ACTION ITEMS:                    CT has retained the current log, Retain Date: 12/11/2020, Expected Purge Date:
                                    12/16/2020

                                    Image SOP

                                    Email Notification, Legal Process Unit legal.process.unit@prudential.com

                                    Email Notification, Susan Arizzo susan.arizzo@prudential.com

                                    Email Notification, Rosalia Bernal rosalia.bernal@prudential.com

                                    Email Notification, Darbi Luzzi darbi.luzzi@prudential.com

                                    Email Notification, Veronica O'Neal veronica.oneal@prudential.com

                                    Email Notification, Lissette Diaz lissette.diaz@prudential.com

                                    Email Notification, Pamela Sidoti pamela.sidoti@prudential.com

                                    Email Notification, Cheryl Moore cheryl.moore@prudential.com

                                    Email Notification, Olivia Gonzalez Olivia.Gonzalez@prudential.com

                                    Email Notification, Julianne Hackett julianne.hackett@prudential.com




                                                                        Page 1 of 2 / KS
Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 2 of 72 PageID #: 9

                                                                                                       Service of Process
                                                                                                       Transmittal
                                                                                                       12/11/2020
                                                                                                       CT Log Number 538732178
   TO:         Olivia Gonzalez
               The Prudential Insurance Company of America
               Legal Department, 751 Broad St, 4th Fl
               Newark, NJ 07102

   RE:         Process Served in Louisiana

   FOR:        The Prudential Insurance Company of America (Domestic State: NJ)




   REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                     3867 Plaza Tower Dr.
                                                     Baton Rouge, LA 70816
                                                     800-448-5350
                                                     MajorAccountTeam1@wolterskluwer.com
   The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
   relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
   of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
   advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
   therein.




                                                                                                       Page 2 of 2 / KS
Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 3 of 72 PageID #: 10
               R. KYLE ARDOIN
             SECRETARY OF STATE
                 P.O. BOX 94125
           BATON ROUGE,LA 70804-9125




                                                                                    29LT 'RUA 2000 062T 02-a
                 PRUDENTIAL INSURANCE COMPANY OF AMERICA
                 C/O CT CORPORATION SYSTEM
                 3867 PLAZA TOWER DR
                 BATON ROUGE, LA 70816




                                                                                  FIRST CLASS
         Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 4 of 72 PageID #: 11
                                                 State of Louisiana
                                                 Secretary of State

                                                                                                Legal Services Section
                                                          12/10/2020                 P.O. Box 94125, Baton Rouge, LA 70804-9125
     •                                                                                             (225)922-0415




  PRUDENTIAL INSURANCE COMPANY OF AMERICA
  C/O CT CORPORATION SYSTEM
  3867 PLAZA TOWER DR
  BATON ROUGE, LA 70816



  Suit No.: 20203988
  14TH JUDICIAL DISTRICT COURT
  CALCASIEU PARISH

  ALLISON SAVOIE
  VS
  THE PRUDENTIAL INSURANCE COMPANY OF AMERICA



  Dear Sir/Madam:

  I am enclosing a citation served in regard to the above entitled proceeding. If you are not the intended recipient of
  this document, please return it to the above address with a letter of explanation. All other questions regarding this
  document should be addressed to the attorney that filed this proceeding.




                                                                                  Yours very truly,

                                                                                  R. KYLE ARDOIN
                                                                                  Secretary of State




Served on: R. KYLE ARDOIN                                           Date: 12/09/2020
Served by: E CUMMINGS                                               Title: DEPUTY SHERIFF



                                                                                                No:1182761


KS
                                                                                                                   I I
        Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 5 of 72 PageID #: 12

                                                                    Citation
ALLISON SAVOIE                                                      • 0F e                                            146 udicial District Court
                                                                    ,07;**-•••
VS.  2020-003988                                                 / 4
                                                                   4.                                                        State -Of Lbui
THE PRUDENTIAL INSURANCE                                         \.      2 ••                                               Parish of Calcasieu
COMPANY OF AMERICA

THE STATE OF LOUISIANA

TO: THE PRUDENTIAL INSURANCE
    COMPANY OF AMERICA
    THROUGH REGISTERED AGENT                                                                                       SERVED ON
                                                                                                                 R.KYLE
    FOR     SERVICE    OF PROCESS:                                                                                      ARDOEN
    LOUISIANA SECRETARY OF STATE
    8585 ARCHIVES AVENUE
                                                                                                                    DEC 09 2020
    Baton Rouge,LA 70809                                                                                      S ECRETARY OF
                                                                                                             COMMERCIAL STATE
                                                                                                                          DIVISION
Parish of East Baton Rouge,Louisiana, Defendant in said suit:

YOU ARE HEREBY CITED TO APPEAR before said Court, for said Parish, and to comply with the demand contained in
the petition of ALLISON SAVOIE,"PETITION" against you, certified copy of which petition accompanies this citation, or
file your answers thereto in writing in the office of the Clerk of Court, at the Courthouse, in the City of Lake Charles, in said
Parish, within fifteen (15) days after the service hereof, under penalty of default.

Witness the Honorable Judges of said Court, at Lake Charles, Louisiana, this 18th day of November 2020.

Issued and delivered November 24, 2020




                                                                                            Shelbie Hardy

                                                                                            Deputy Clerk of Court

                                                      SERVICE INFORMATION

Received on the          day of                       20     , and on the                day of                       20    ,served the above named
party as follows:

PERSONAL SERVICE on the party herein named

DQMICILIARY SERVICE on the party herein named by leaving the same at his domicile
in the parish in the hands of                                    , a person apparently over the age of seventeen years, living and residing in
said domicile and whose name and other facts connected with this service, I learned by interrogating the said person, said party herein
betng absent from his residence at the time of said service.
RETURNED:
PAItSH OF                                   this          day of                      20.

SERVICE                                                    BY:
                                                                  Deputy Sheriff
MILEAGE

TOTAL $

Party No.        P001




                                                                             111 1 1 111111111111111111111101111111 1 1
                                                                                    CMS 6 9 8 2 3 0 9
                                                                                 Filing Date: 1 /24/2020 03:14 PM Page Count: 1
                                                                                 Case Number: 2020-003988
                                                                                 Document Name: 1600 Citation
[Service Copy]
CMS0085                                                                                                                           Page 1 of 1
Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 6 of 72 PageID #: 13



 ALLISON SAVOIE                               :    14TH JUDICIAL DISTRICT COURT

 VS. NO. 7..(ab         (1-1                      PARISH OF CALCASIEU

 THE PRUDENTIAL INSURANCE                         STATE OF LOUISIATA
 COMPANY OF AMERICA

 FILED:                     NOV 18 MO                                ql
                                                  DEPUTY CLERK F COURT


                                            PETITION

         NOW INTO COURT, through undersigned counsel, comes Plaintiff, ALLISON

 SAVOIE, an individual of the full age of majority and domiciled in Calcasieu Parish, Louisiana,
                                                                              CALCASIEU CLERK-MST
 who respectfully represents:                                                NOV 18 2020 Pm03:42:09
                                                  1.

         Made defendant herein is:

         THE PRUDENTIAL INSURANCE COMPANY OF AMERICA, a corporation that may
         be served through its registered agent for service of process, Louisiana Secretary of State,
         8585 Archives Avenue, Baton Rouge, Louisiana 70809("Defendant");

                                                  2.

         Mrs. Savoie maintained a "Group Term Life Plan" dependent's insurance policy (the

 "Policy").    The policyholder is NEA Members Insurance Trust, and the policy itself is

 underwritten by the Defendant. At all relevant times, Mrs. Savoie paid her premiums owed

 under the policy timely. See Exhibit"A."

                                                  3.

          Mrs. Savoie is the beneficiary of the Policy. Her "Qualified Dependents" dre the

  insured(s) under the Policy, including Mrs. Savoie's spouse at the time she purchased the Policy,

 Robby Savoie.

                                                  4.

         Mrs. Savoie and Robby Savoie divorced on August 23, 2018. Several months after their

  divorce, Mrs. Savoie and Robby began repairing their relationship. The relationship became

  increasingly romantic as time passed in 2019. On or about May 19, 2019, a physician diagnosed

 Robby with terminal cancer that ultimately took his life. Mrs. Savoie was Robby's primary

  caretaker through his illness and was the one holding his hand as he passed away. They loved

  each other and carried out many of the day-to-day activities of a married couple. Mrs. Savoie

  was even listed as Robby's wife in the obituary written by his father and brother.



                                                  1
Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 7 of 72 PageID #: 14



                                                5.

        Unfortunately, Robby Savoie (hereinafter, the "Decedent") died on November 23, 2019.

 Shortly thereafter, Mrs. Savoie filed her claim for insurance proceeds arising from the

 Decedent's death benefit under the Policy. Defendant erroneously denied this claim on February

 6,2020.

                                                6.

        Mrs. Savoie, through undersigned counsel, mailed her administrative appeal (the

 "Appeal")to the Defendant by letter dated June 3, 2020. See Exhibit"B."

                                                7.

        The Defendant acknowledged receipt of the Appeal by letter dated June 25, 2020. See

 Exhibit "C." Therein, Defendant stated that they received the Appeal and would provide a

 decision on that Appeal within 45 days ofthe date it received the Appeal.

                                                8.

        By letter dated July 2, 2020, Defendant requested more information from Mrs. Savoie to

 provide a determination. See Exhibit "D." Defendant sent another letter on July 29, 2020,

 requesting an additional 45 days from the date of the letter to review the Appeal. See Exhibit



                                                9.

         Mrs. Savoie provided additional documentation related to her Appeal by letter dated

 August 21,2020. See Exhibit "F."

                                               10.

         The 90-day deadline, including the requested extension, was no later than September 23,

 2020, under Defendant's own procedures set forth by letter. See Exhibit C; Exhibit E. As of

 November 13, 2020—at least 51 days after the deadline—Mrs. Savoie has not received a final

  decision from the Defendant regarding her Appeal.

                                                1 1.

         The Policy is governed by the laws ofthe Employee's Retirement Income Security Act of

  1974 ("ERISA"). When the administrator of an ERISA plan fails to follow its own claims

 procedure, a claimant's administrative remedies are deemed exhausted and the claimant may

 seek judicial review of the claim. See Fessenden v. Reliance Std. Life Ins. Co., 927 F.3d 998,




                                                2
Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 8 of 72 PageID #: 15



  1001 (7th Cir. 2019); Baptist Mem. Hosp. - Desoto, Inc. v. Crain Auto., Inc., 392 Fed. Appx.

 289,293 (5th Cir. 2010).

                                                      12.

         Moreover, an administrator's failure to render a decision entitles the claimant to a de

 novo review of the claim by the Court. Fessenden, supra.

                                                      13.

         The Defendant incorrectly denied Mrs. Savoie's claim because she and the Decedent

 divorced prior to his death, which the Defendant claims excludes the Decedent as a "Qualified

 Dependent" under the Policy. The facts and circumstances of Mrs. Savoie and the Decendent's

 relationship and life together, however, satisfies, the policy's definition of a Qualified Dependent

 in its entirety.

                                                      14.

         Based on the foregoing that was previously provided to the Defendant, the Decedent is a

 Qualified Dependent of Mrs. Savoie because their relationship meets the standard of a "Qualified

 Domestic Partner" as set forth in the Policy and detailed in Paragraph 4 herein.


                                                      15.

          Mrs. Savoie is entitled to full payment of the Policy amount.



          WHEREFORE,Plaintiff, ALLISON SAVOIE,prays that:

         I.         Defendant is duly cited and served with a certified copy of this petition and be

  commanded to respond thereto;

                    After due proceedings,judgment be rendered in favor of Plaintiffs, and against the

 Defendant in the amount of the full Policy commensurate with the damages determined after a

  trial on the merits, plus attorney fees, interest and costs; and

         III.       Full, general, and equitable relief.

                                           Respectfully submitted:

                                           STUTES & LAV RGNE,LLC


                                       By:
                                          RUSSELLTI. STU E , JR.(#21147)
                                          P. JODY LAVERGNE(#27546)
                                          RUSSELL J. STUTES,III(#38420)
                                          600 Broad Street
                                          Lake Charles, LA 70601
                                          Telephone: (337)433-0022
                                          Facsimile: (337)433-0601
                                          Email: rjs3@stuteslaw.com

                                                       3
Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 9 of 72 PageID #: 16




 PLEASE SERVE:

 THE PRUDENTIAL INSURANCE COMPANY OF AMERICA
 Through its registered agentfor service ofprocess:
 Louisiana Secretary of State
 8585 Archives Avenue
 Baton Rouge, Louisiana 70809

                                                               A TRUE COPY
                                                            Lake Charles, Louisiana


                                                    Deputy Clerk of Cou t
                                                    Calcasieu Parish, Louisiana
                                                                                  NOV 2 4 2020




                                       4
Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 10 of 72 PageID #: 17




   ALLISON SAVOIE                              :   14TH JUDICIAL DISTRICT COURT

   VS. NO.           2626"gel ek               : PARISH OF CALCASIEU

  THE PRUDENTIAL INSURANCE                         STATE OF LOUISIANA.
  COMPANY OF AMERICA

  FILED:
                               NOV 1 •8 2020 ••
                                                                   Oh 14)1 IfeP
                                                   DEPUTY CLERK OF OURT


                                 AFFIDAVIT OF VERIFICATION

         BEFORE ME, the undersigned Notary, personally came and appeared ALLISON

  SAVOIE, the petitioner, who, upon being duly sworn, declared that she has read the foregoing

  Petition and that the allegations of fact contained therein are true and correct to the best of her

  knowledge, information and belief.




                                               ALLISON SAVOIE




                                                                                                     ik-I 491\
         SWORN TO AND SUBSCRIBED before me in Lake Charles, Louisiana, on this                           r

   day of November,2020.




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                                Print:         mci‘Ainio
                                       NOTARY PUB                                    ‘4•' .
                                                                                                    //1
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                                 Commission number:                            •
                                                                               •••                        •




                                My commission expires:
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                                                   5
    Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 11 of 72 PageID #: 18
   SCHEDULE OF BENEFITS FACE PAGE

     POLICYHOLDER - NEA MEMBERS INSURANCE TRUST                                           POLICY
                                                                                         G-20400-2


     CERTIFICATE EFFECTIVE DATE:                                                         CERTIFICATE NO.
     08/01/06                                                                             80267-0050082

           CERTIFICATE HOLDER:
       ALLISON M SAVOIE
       7829 MCCINDY RD      •
       LAKE CHARLES LA 70607-0735




                                        GROUP TERM LIFE PLAN               FILED                         020


Amount for Each Benefit Class:                                             Deputy Clerk of Court
                                                                           Calcasieu Perish, Louisiana

Benefit Classes:                                              Amount of Insurance:
According to your attained age as follows:   Member
Less than age 70                           $ 150,000
Age 70 or more but less than age 75        $ 75,000
Age 75 or more                             $ 15,000

Change in Benefit Class: Your amount of insurance is the amount shown above
for your class. When your class changes because you reach age 70 or 75,
your amount of insurance will be automatically adjusted to the amount of
insurance for your new class. This change will take effect on your
Anniversary Date which occurs on or immediately follows the date your class
changes. Your billing notice will show the new payment which results from
the change in class.



Premium Adjustment: Your premium rate will change in five-year age
brackets. When you reach your next age bracket, your billing notice
will reflect this premium adjustment.




 You can access your account information directly by visiting neamb.com/myaccount.
 IMPORTANT: THIS IS A PART OF YOUR CERTIFICATE. IT IS EVIDENCE OF YOUR COVERAGE AND SHOULD BE ATTACHED TO
 YOUR CERTIFICATE. THIS SCHEDULE REPLACES AND CANCELS ALL OTHER SCHEDULES, IF ANY,ISSUED TO THE INSURED
 NAMED HEREON UNDER SAID CERTIFICATE.       .


  UNDERWRITTEN BY:

 The Prudential Insurance
 Company of America
                                      •nea            Members
                                                      Insurance Trust
                                                                                        PLAN ADMINISTERED BY:
                                                                                                          •
                                                                                        NEA INSURANCE OPERATIONS
                                                                                        P.O. Box 9389
                                                                                        Des Moines, IA 50306-9389
                                                                                                         M-191 (12/93) .
Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 12 of 72 PageID #: 19




                                                                 our
                                       NEA INSURANCE
                                            BOOKLET and
                                             CERTIFICATE


                                   NEA Members Insurance Trust
                                                   A policy ofcaring




                                        NEA Group Term Life Plan




                                          Prudential A Financial
Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 13 of 72 PageID #: 20


  Table of Contents

  Foreword                                                           1


  Schedule of Benefits                                               3

  Who is Eligible to Become Insured                                  5

  When You Become Insured                                            7

  Member Term Life Insurance                                         9

  Option to Accelerate Payment of Death Benefits
    (Living Benefit Option)                                         11

  Dependents Term Life Coverage                                     14

  General Information.                                              17

      Beneficiary Rules                                             17
      Mode of Settlement Rules                                      17
      Definitions                                                   19

  When Your Insurance Ends                                          21

  Certificate of Coverage                                           22

  Summary Plan Description                                          23
      Introduction                                                  24
      General Information                                           25
      Claims                                                        26
      Your Rights Under ERISA                                       26




  83500
  BTC 1001                                                               (20400)
                                                   2
Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 14 of 72 PageID #: 21

 Amount for Each Benefit Class: See the Schedule of Benefits Face Page.
                            ..

 OTHER INFORMATION
 Contract Holder: NEA MEMBERS INSURANCE TRUST

 Group Contract No.: G-20400-2

 Program Date: October 1, 2004. This Booklet describes the benefits under the Group Program as
 of this Date. The Program Date is not the same as your Effective Date of Coverage.

 Cost of the Insurance: The Member and Dependents Insurance in this Booklet is Contributory
 Insurance. You will be informed of the amount of your Payment when you enroll.

 Prudential's Address:
 The Prude-ntial Insurance Company of America
 290 West Mount Pleasant Avenue
 Livingston, New Jersey 07039

 WHEN YOU HAVE A CLAIM
 Each time a claim is made, it should be made without delay. Use a claim form, and follow the
 instructions on the form.
 If you do not have a claim form, contact:
 NEA Insurance Operations
 P.O. Box 1737
 Des Moines, IA 50306-1737
 Toll Free Number
 1-800-523-5877
 7:00 AM to 8:00 PM Central Time Monday - Friday




 83500
 BSB 1001                                                                                       (20400)
                                                  4
Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 15 of 72 PageID #: 22


   You can enroll a Qualified Domestic Partner under the Program. No Domestic Partner will be
   considered your Qualified Domestic Partner while you have a spouse who is or could be covered as a
   Qualified Dependent. You must notify Prudential within 10 days of the date that a person ceases to be
   considered a Qualified Domestic Partner.

   Your children include your legally adopted children and each of your stepchildren and foster children
   who depends on you for support and maintenance.

   Exceptions:

  •    The age 21 limit does not apply to a child who:

       (a) wholly depends on you for support and maintenance; and

       (b) is enrolled as a full-time student in a school; and

       (c) is less than the Student Age Limit.

        Student Age Limit: 25.

  •    Your spouse, Domestic Partner or child is not your Qualified Dependent while:

       (a) on active duty in the armed forces of any country; or

       (b) insured under any Member Term Life Coverage of the Group Contract; or

       (c) the spouse, Domestic Partner or child has protection under any Member Term Life Coverage of
           the Group Contract after the spouse's, Domestic Partners or child's insurance under that
           Coverage ends.

   A child will not be considered the Qualified Dependent of more than one Member. If this would
   otherwise be the case, the child will be considered the Qualified Dependent of the Member named in a
   written agreement of all such Members filed with the NEA. If there is no written agreement, the child will
   be considered the Qualified Dependent of:

  (a) the Member who became insured under the Group Contract with respect to the child, while the
      child was a Qualified Dependent of only that Member; and otherwise

  (b) the Member who has the longest continuous membership in the NEA, based on the NEA's
      records.

   The rules for obtaining Dependents Insurance are in the "When You Become Insured" section.




   83500
   BEL 1001                                                                                         (20400)
                                                       6
Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 16 of 72 PageID #: 23

  (1) You enroll for Dependents Insurance under a Coverage after you are first eligible for Dependents
      Insurance. The requirement will apply to. each Qualified Dependent you have when you enroll.

  (2) You enroll for Dependents Insurance after any insurance under the Group Contract ends because
      you did not pay a required contribution. The evidence requirement will apply to each Qualified
      Dependent you have when you enroll.

  (3) The Qualified Dependent is a person for whom a previous requirement for evidence of insurability
      has not been met. The evidence was required for that person to become covered for an insurance,
      as a dependent or a Member.

  While you are insured for Dependents Insurance under a Coverage', the evidence requirement will not
  apply to a new dependent.




   Delay of Effective Date
   FOR DEPENDENTS TERM LIFE COVERAGE
  A Qualified Dependent may be'confined for medical care or treatment, at home or elsewhere. If a
  Qualified Dependent is so confined on the day that your Dependents Insurance under a Coverage for
  that Qualified Dependent, or any change in that insurance that is subject to this section, would take
  effect, it will not then take effect. The insurance or change will take effect upon the Qualified
  Dependent's final medical release from all such confinement. The other requirements for the insurance
  or change must also be met.

  Newborn Child Exception: This section does not apply to a child of yours if the child is born to you,
  becomes your Qualified Dependent when the child is 14 days old, and 'either.

  (.1) is your     Qualified Depenctent,or

  (2) becomes a Qualified Dependent while you are insured for Dependents Insurance under that,
      Coverage for any other Qualified Dependent.




  83500
  BEL 1001                                                                                        (20400)
                                                     8
Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 17 of 72 PageID #: 24

   Individual Contract Rules: The individual contract must conform to the following:

   Amount:

   If your insurance ends by reason of(1) above: Not more than your Member Term Life Insurance under
   this Coverage when your insurance ends.

   If your insurance ends by reason of(2) above: The total amount of individual insurance which you may
   get in place of all your life insurance then ending under the Group Contract will not exceed the lesser of
   the following:

  (1) The total amount of all your life insurance then ending under the Group Contract reduced by the
      amount of group life insurance from any carrier for which you are or become eligible within the next
      31 days.

  (2) $10,000.

   Form: Any form of a life insurance contract that:

  (1) conforms to Title VII of the Civil Rights Act of 1964, as amended, having no distinction based on
      sex; and

  (2) is one that Prudential usually issues at the age and amount applied for.

   This does not include term insurance or a contract with disability or supplementary benefits.

   Premium: Based on Prudential's rate as it applies to the form and amount, and to your class of risk and
   age at the time.

   Effective Date: The end of the two calendar month period during which you may apply for it.



   Any death benefit provided under a section of this Coverage is payable according to that section and the
   "Beneficiary" and "Mode of Settlement Rules".                                                     -




   83500
   LIF R 5001                                                                                       (20400)
                                                       10
Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 18 of 72 PageID #: 25

      (b) If you are required by a government agency to use this option in order to apply for, get or keep
          a government benefit or entitlement, you are not eligible for this benefit.

  Effect on Insurance: This benefit is in lieu of the benefits that would have been paid on your death with
  respect to the Terminal Illness Proceeds. When you elect this option, the total amount of Member Term
  Life Insurance otherwise payable on your death, including any amount under an extended death benefit,
  will be reduced by the Terminal Illness Proceeds. Also, any amount you could otherwise have
  converted to in individual contract will be reduced by the Terminal Illness Proceeds.




  83500
  LIFT 1002                                                                                  (1-2)(20400)
                                                     12
Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 19 of 72 PageID #: 26



   Dependents Term Life Coverage

   FOR YOUR DEPENDENTS ONLY

   A. DEATH BENEFIT WHILE A COVERED PERSON.
   If a dependent dies while a Covered Person, the amount of insurance on that dependent under this
   Coverage is payable when Prudential receives written proof of death.

   B. DEATH BENEFIT DURING A CONVERSION PERIOD.
  A death benefit is payable under this Section B if a dependent dies:

  (1) within two Calendar months after ceasing to be a Covered Person; and

  (2) while entitled (under Section C)to a conversion of the insurance under this Coverage to an
      individual contract.

  The amount of the benefit is equal to the amount of Dependents Term Life Coverage which could have
  been converted. It is payable even if conversion was not applied for. It is payable when Prudential
  receives written proof of death.

   C. CONVERSION PRIVILEGE.
  This privilege applies if you cease to be insured for the Dependents Term Life Coverage of the Group
  Contract with respect to a dependent. That dependent may have your insurance on the dependent
  under this Coverage, which then ends, converted to an individual life insurance contract. Evidence of
  insurability is not required. However, conversion is not available if the insurance ends for one of these
  reasons:

  (1) You fail to make any required contribution for insurance under the Group Contract.

  (2) All Dependents Term Life Coverage of the Group Contract for your class ends by amendment or
      otherwise. This(2)does not apply if, on the date it ends, you have been insured with respect to
      the dependent for five years for that insurance (or for that insurance and any Prudential rider or
      group contract replaced by that insurance).

   Any such conversion is subject to the rest of this Section C.

   Availability: The individual contract must be applied for and the first premium must be paid by the later
   of:

  (1) within two calendar months after you cease to be insured for Dependents Term Life Coverage with
      respect to the dependent, and

  (2) the fifteenth day after you have been given written notice of the conversion privilege. But in no event
      may conversion to an individual contract be applied for if the contract is not applied for and the first



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   DPL R 5004                                                                                        (20400)
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Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 20 of 72 PageID #: 27


  (2) If no Beneficiary has been chosen by the continuing dependent spouse or Qualified Domestic
      Partner, then to the estate of the continuing dependent spouse or Qualified Domestic Partner, or at
      Prudential's option, to any one or more of these surviving relatives of the dependent:

    , wife; husband; mother; father; children; brothers; sisters.




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  DPL R 5004                                                                                     (20400)
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Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 21 of 72 PageID #: 28


  Choice by Beneficiary: A Beneficiary being paid under a Mode of Settlement may, if Prudential
  agrees, choose (or change the Beneficiary's choice of) a payee or payees to receive, in one sum, any
  amount which would otherwise be payable to the Beneficiary's estate.

  Prudential has prepared information about the modes of settlement available. Contact NEA Insurance
  Operations, P. 0. Box 1737, Des Moines, Iowa 50306-1737 for this information.

  INCONTESTABILITY OF LIFE INSURANCE
  This limits Prudential's use of your statements in contesting an amount of Life Insurance for which you
  are insured. These are statements made to persuade Prudential to accept you for insurance. They will
  be considered to be made to the best of your knowledge and belief. These rules apply to each
  statement:

 (1) It will not be used in the contest unless:

      (a) It is in a written instrument signed by you; and

      (b) A copy of that instrument is or has been furnished to you or to your Beneficiary.

 (2) If it relates to your insurability, it will not be used to contest the validity of insurance which has
     been in force, before the contest, for at least two years during your lifetime.




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Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 22 of 72 PageID #: 29


  Decreasing Term Life Insurance: Term life insurance which provides a .benefit that will decrease as
  shown in the Amount of Insurance Columns in the Schedule of Benefits.

  Dependents Insurance: Insurance on the person of a dependent.

  Doctor: A licensed practitioner of the healing arts acting within the scope of the license.

  Injury: Injury to the body of a Covered Person.

  Member: A person who is an Active, Staff, Substitute, Reserve, Student, Retired or Life Member of the
  NEA.

  Member Insurance: Insurance on the person of a Member.

  Mode of Settlement: The settlement option not including lump sum payment which is either arranged
  by the insured Member prior to death or selected by the Beneficiary or person who has a right to receive
  a settlement under the Coverage.

  NEA: The National Education Association of the United States.

  Payment: This refers to the contributions that are required for the insurance. The required
  contributions are to be made by the Payment Due Date.

  Payment Due Date: Payments are to be made starting with the date the Member becomes insured
  under the Group Contract. This date may occur monthly or be changed to another option at the request
  of the Member. The Payment basis may be changed to quarterly, semi-annually or annually or be
  changed back to monthly. No Payment is due on a day, if on that day, the Member is not then insured.

  Period of Insurance under a Coverage: Each period,of your insurance under a Coverage begins on
  a Payment Due Date. Periods of Insurance may differ as follows: The period is one calendar month if
  Payments are due on a monthly basis. It is three consecutive calendar months if Payments are due on
  a quarterly basis. It is six consecutive calendar months if Payments are due on a semi-annual basis. It
  is twelve consecutive calendar months if Payments are due annually.

  Prudential: The Prudential Insurance Company of America.

  Sickness: Any disorder of the body or mind of a Covered Person including pregnancy of a Covered
  Person, abortion, miscarriage, or childbirth, but not including Injury.

  You: A Member.




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Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 23 of 72 PageID #: 30


   THE PRUDENTIAL INSURANCE COMPANY OF AMERICA



  Certificate of Coverage

  Prudential certifies that insurance is provided according to the Group Contract(s) for each Insured
  Member. Your Booklet's Schedule of Benefits shows the Contract Holder and the Group Contract
  Number(s).

  Insured Member. You are eligible to become insured under the Group Contract if you are in the Covered
  Classes of the Booklet's "Definitions" section and meet the requirements in the Booklet's "Who is
  Eligible" section. The "When You Become Insured" section of the Booklet states how and when you
  may become insured for each Coverage. Your insurance will end when the rules in the "When Your
  Insurance Ends" section so provide. Your Booklet and this Certificate of Coverage together form your
  Group Insurance Certificate.

  Beneficiary for Member Death Benefits: See the Booklet's "Beneficiary Rules".

  Coverages and Amounts: The available Coverages and the amounts of insurance are described in the
  Booklet.

  If you are insured, your Booklet and this Certificate of Coverage form your Group Insurance Certificate.
  Together they replace any prior booklets and certificates issued to you for the Coverages in the
  Booklet's Schedule of Benefits. All Benefits are subject in every way to the entire Group Contract which
  includes the Group Insurance Certificate.

  The Prudential Insurance Company of America




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Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 24 of 72 PageID #: 31


  INTRODUCTION
  The National Education Association (NEA)sponsors a group insurance plan for its members called the
  "NEA Members Insurance Plan"("the Plan'). The purpose of the Plan is to provide NEA Members with
  group insurance benefits in the event of their death, accident, sickness, disability, or other occurrences
  affecting members and their families. These benefits are funded by one or more group insurance
  policies acquired and maintained by the trustees of the NEA Members Insurance Trust, the nonprofit
  entity created as the vehicle through which benefits are provided to NEA members participating in the
  Plan. Participation for Life Insurance is open to NEA members on a voluntary basis. Participants
  select the type of coverage they want and pay the entire cost themselves. The NEA does not contribute
  to the cost of these coverages. •

  The terms of the Plan are currently contained in a Trust agreement and operating document governing
  the Plan, in the insurance policies issued to the Trust, in administration agreements between insurance
  carriers and the Trust, and in resolutions adopted by NEA's Board of Directors and Executive •
  Committee. The Life program is described in previous pages of this Booklet.

  The purpose of this Summary Plan Description is to inform you about the Plan's structure. This
  Summary is being furnished to you in compliance with the Employee Retirement Income Security Act of
  1974(ERISA). As a participant in the Plan, you are entitled to certain rights and protections under
  ERISA. These rights are summarized in this Summary Plan Description.




   SPD                                               24                                            (20400)
Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 25 of 72 PageID #: 32


 CLAIMS
 Initial Procedures. If there is a claim for any benefit under the Plan, you or your Beneficiary should
 notify NEA Insurance Operations, Post Office Box1737, Des Moines, Iowa 50306-1737. The
 appropriate claim forms will be sent by return mail accompanied by complete claim instructions. If the
 claim results from death, a certified copy of the death certificate with the raised seal will be required. If
 the claim results from total disability, you will be sent a form which must be completed by your
 physician.

 Review of Denied Claims. If a claim for benefits is denied or ignored, in whole or in part, you are
 entitled to have your claim reviewed by Prudential. You or your authorized representative will receive a
 written explanation of the reason for the denial. Prudential will send this written notice to you within 90
 days..If you are not notified at all within 90 days, this may be considered a claim denial. You then have
 the right to have Prudential review and reconsider your claim. In order to initiate a review of that claim
 decision, you must make written request to Prudential. You may then take certain steps to enforce
 your-right to this review process. You'may file suit in a stat•e'court;or you may file suit in a-federal
 court. The court will decide who should pay the court costs and legal fees. You can obtain further
 information regarding this review procedure from NEA Member Benefits.


 YOUR RIGHTS UNDER ERISA
 As a participant in the NEA Members Insurance plan, you are entitled to certain rights and protections
 under the Employee Retirement Income Security Act of 1974(ERISA). ERISA provides that all Plan
 participants have the following rights:

     •    You have the right to examine, without charge, at the offices of NEA Member Benefits
          Corporation, 900 Clopper Road, Suite 300, Gaithersburg, Maryland 20878, all Plan documents,
          including insurance contracts (with riders and amendments) with Prudential and the pertinent
          resolutions adopted by NEA's Board of Directors and the Executive Committee for the
          administration of the Plan. You may also examine, without charge, copies of all documents
          pertaining to the Plan filed by the NEA Members Insurance Trust with the U.S. Department of
          Labor.

     ,•   You have the right to obtain copies of Plan documents and other Plan information upon
          written request to NEA Member Benefits at the above address. NEA Member Benefits may
          make a reasonable charge for the copies.

     •    You are entitled to a summary financial report. If you want a copy of that report, write to
          NEA Member Benefits at the above address.


  In addition to creating rights for you, ERISA imposes duties on NEA, and the Trustees in their operation
  of the NEA Life Insurance Plan. The NEA and the Trustees are "fiduciaries." In addition, Prudential is
  the appropriate named fiduciary forthe purposes of the enrollment process and claims administration.
  The fiduciaries have a duty to operate the Plan prudently and in the interests of you and other Plan
  participants and beneficiaries. No one can prevent you from obtaining the insurance benefits to which
  you are properly entitled under the Plan or from exercising your rights under ERISA.




  SPD                                                  26                                             (20400)
Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 26 of 72 PageID #: 33


                                   NOTES




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Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 27 of 72 PageID #: 34


    RIDER TO BE ATTACHED TO YOUR BOOKLET

    NOTICE OF CHANGE
    Covered Classes: The "Covered Classes" are these Employees of the Contract Holder(and its
    Associated Companies): Members of the NEA who, according to the Administrative records, have
    elected to participate in the Option to Accelerate Payment of Death Benefits for Dependent Spouse of
    Domestic Partner.

    Effective Date of Change: The first day on or after September 1, 2005 on which you are insured (see
    the Booklet-certificate's When You Become Insured section). The Delay of Effective Date section
    applies to this change.

    Group Contract No. G-20400-2
         Your Booklet coded 20400-2 NEA Group Term Life Plan MEM-DEP-L; Ed 10-2004 is changed as
         follows:
    1. The DEPENDENTS TERM LIFE COVERAGE section of the Schedule of Benefits is enlarged to
       include the following:

         Effect of Option to Accelerate Payment of Death Benefits: Your Qualified Dependent Spouse
         or Domestic Partners amount of insurance (as determined in the absence of this provision) will
         be reduced by the amount of any Terminal Illness Proceeds paid under the Option to Accelerate
         Payment of Death Benefits.

    2. Page 83500 DPL T 5013(S-1)(20400-8) included with this Notice is made a part of your Booklet.

          All other provisions in your Booklet remain unchanged.




                                                  THE PRUDENTIAL INSURANtE-balPANY.OF AMERICA




    83500 BNC 1001                            (20400,PERM BNC,NEA Member Spouse AB0,09-01-2005,8)
Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 28 of 72 PageID #: 35


    (3) Your Dependents Term Life Insurance must not be assigned.

   ,(4) Terminal Illness Proceeds will be made available to you on a voluntary basis only. Therefore:

       (a) If you are required by law to use this option to meet the claims of creditors, whether in
           bankruptcy or otherwise, you are not eligible for this benefit.

       (b) If you are required by a government agency to use this option in order to apply for, get or keep
           a government benefit or entitlement, you are not eligible for this benefit.

    Effect on Insurance: This benefit is in lieu of the benefits that would have been paid on your
    dependent's death with respect to the Terminal Illness Proceeds. When you elect this option, the total
    amount of Dependents Term Life Insurance otherwise payable on your dependent's death, including any
    amount under an extended death benefit, will be reduced by the Terminal Illness Proceeds. Also, any
    amount your dependent could otherwise have converted to an individual contract will be reduced by the
    Terminal Illness Proceeds.




    83500
    DPL T 5013                                                                                (S-1)(20400-8)
                                                                        RUSSELL J.S1UTES,JR. 1,2
     Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 29 of 72 PageID #: 36
                                                                         P.JODY LAVERGNE 3
                  Stutes                             Lavergne         JEANETTE DEWITT-KYLE 3
                                                                         SHELLEY BOUILUON 2
                  A TTORNEYS AT LAW                                       DEIL J. LALANDE 3
                   A LIMITED LIABILITY COMPANY
                                                                           MARLA MILLER 2,4
Mailing Address: P.O. Box 1644, Lake Charles, LA 70602
                                                                       RUSSELL  J. STUTES,III 2
                                                                                                                                                      OF COUNSEL
                                                                                                                                         ROBERT C.MCCORQUODALE


                                                                           June 3,2020


                 VIA CERTIFIED MAIL
                 Appeal Coordinator
                 The Prudential Insurance Company of America
                 Group Life Claim Division
                 PO Box 8517
                 Philadelphia,PA 19176                                                                                   APPEAL LETTER


                            Re:         Insured: Robby D. Savoie                                               FILED                          NOV 1 8 2020
                                        Control Number: G-20400
                                        Claim Number: 11929839
                                                                                                              Deputy Clerk o ourt                            ip
                 To the Prudential Appeal Committee:                                                          Calcasieu Parish, Louisiana

                        Please be advised that Allison Savoie retained me to represent her interest
                 in the above-captioned benefits claim (the "Claim) issued to NEA Members
                 Insurance. She formally submits this appeal letter as a response to her denial issued
                 on February 6, 2020, and to provide additional information not considered by
                 Prudential in its denial of benefits. See Exhibit A (the "Denial").
                         As a briefsummary,Robby D. Savoie (the "Decedent") died on November
                 23, 2019. A claim was submitted sometime thereafter, leading to the attached
                 Denial. In that Denial, the company considered four documents, including(1)the
                 original claims form;(2)death certificate ofRobby D. Savoie;(3)Group Policy G-
                 20400 (the "Policy"); and (4) divorce decree dated as of August 23, 2018. Quite
                 simply,the Claim was denied because Mrs.Savoie was divorced from the Decedent
                 at the time of death. While Mrs. Savoie understands the reason for Denial based
                 on the limited information available to Prudential, it does not provide the full story
                 of her relationship with the Decedent.




Lake Charles:(337)433-0022 Fax:(337)433-0601                              StutesLaw.com                                    600 Broad Street, Lake Charles, LA 70601
Jennings:(337)246-9988     Fax:(337)246-9991                           InjuryLawSWLA.com                                 207 North Church Street,Jennings LA 70546


                     1.LLM.in Taxation; Board Certified in Tax and Estate Planning and Administration by the Louisiana Board ofLegal Specialization
                                    2.Specializing inTax,Real Estate, Estate Planning,Successions, and CommercialTransactions
                                                                   3.Specializing in Personal Injury
                                                     4.LLM.in Taxation & Licensed in Louisiana and Texas
Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 30 of 72 PageID #: 37




              Ms.Savoie does not deny that she and her husband were divorced on Auglist
       23, 2018. For some time after that, they remained separated. However, in early
       2019 they began repairing their relationship. As 2019 progressed, their
       relationshipgrew increasingly romantic. On May 19, 2019, the Decedent was
       diagnosed with severe liver cancer that would ultimately take his life.
             After his diagnosis, Mrs. Savoie became the Decedent's primary caretaker.
       They continued to progress romantically and desired to be remarried if the
       Decedent were able to survive his illness. In fact, Mrs. Savoie is described as the
       Decedent's wife in his obituary. See Exhibit B.
               There is no doubt that the Decedent and Mrs.Savoie depended on each other
       after the diagnosis and, in many ways, prior to the diagnosis. Among many other
       commitments,the Savoies(1) maintained joint vehicle registrations;(2)listed each.
       other on health insurance benefits; (3) listed each other as beneficiaries of
       retirement accounts;(4)shared streaming accounts;(5)and paid bills together. See
       Exhibits C-G.
               Mrs. Savoie's relationship with the Decedent satisfies the Policy's
       definition of "Qualified Domestic Partner(s)." The policy requires only that the
       couple (1) be unmarried in an economically committed and affectionate
       relationship and sole domestic partners;(2) cohabit for at least 6 months prior to
       enrollment; (3) is anticipate that they will continue to cohabit in such an
       economically committed and affectionate relationship; and (4) not otherwise be a
       Qualified Dependent under the Program.
              These requirements are clearly met in this scenario. Based on the foregoing
       and attached information not previously available to Prudential, Mrs. Savoie asks
       the Appeal Committee to reverse Prudential's prior decision and grant Mrs.
       Savoie's claim for benefits. In the event additional information is requested, please
       submit such requests to my office and I will facilitate disclosure to the Appeal
       Committee.




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             With kind regards, I am




                                                 Russell J. Stutes, III




                                                                          Stutes 3Lavergne
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                                  Give the gift of life. Become an organ and tissue donor.
                        To receive a Donor Registry Form, please visit WWW.DONATELIFELA,ORG



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                                                       P.O. Box 64886
                                                       Baton Rouge, Louisiana 70896



                 Your Vehicle Registration renewal is complete.

                 This receipt is proof that your Vehicle Registration is current as the
                 update may not occur for 24 hours.

                 Your Vehicle Registration will be mailed soon. If you do not receive
                 your Registration within 30 days, contact your local Office of Motor
                 Vehicles or contact Headquarters at 225-925-7198 or 225-925-6146.



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                  Email:                                   allisav12@gmail.com




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    Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 38 of 72 PageID #: 45
                  State ofLouisiana, Office ofMotor Vehicles
                  VEHICLE REGISTRATION RENEWAL NOTICE




                                                                                                                SKIP THE LINE!
                                                                                                              RFN.Ewp1441N .. •
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                                                                                                        See reverse side for information

          ROBBIE SAVOIE AND
          ALLISON SAVOIE                                                            •
          7829 MCCINDY ROAD
          LAKE CHARLES, LA 70607                                          :1756'146-129/2?/740

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                              SEE REVERSE SIDE FOR IMPORTANT
                            I NFORMATION ON RENEWAL OPTIONS




                                             ANY QUESTIONS? CALL(225)925-6146
   DPSMV 1720(R 11/2911)
                                                                                   IF PAYING BY MAIL. RETURN THIS PORTION WITH PAYMENT- —




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VEHICLE RENEWAL APPLICATION FOR:
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                                                                                         New Orleans, LA 70160-0081
ROBBIE SAVOIE AND
                                                                          1 11111111111.111.11IIIIIIIII..1111.11111.11011          I
ALLISON SAVOIE
7829 MCCINDY ROAD
LAKE CHARLES, LA 70607
 LICENSE     EXP.DA1E                       VIN                                    MAKE               YEAR                  DOMICILE
 371CIF             04/30/2020                 1GKES16S436221766                          GIKC           2003                  1008
 WEIGHT                  SPOV                       RENEWAL ID NUMBER OWNERS)DRIVER'S UC                FEDERAL TAX ID            FEE DUE
                         $34,950.55                 125224914014                                                                    $70.00



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         Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 39 of 72 PageID #: 46
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          PAYMENT          •                                                                         Cheek or money order•made*payable to the Office.of Motor Vehi-
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              APPLICATION WILL BElEJECTED AND itEMITI'ANCEWILL BERETURNED.
              IMP.OlrEANT::Adishancireci•(NSP)eheckmay result in thesuspension of driving end/or vehicle regystering privileges(R.S..32:414(N)). A
              dishonored(NSF)rherkal.loWs‘therlepOttinentio'disdose the check writer's personal information(name,address;on.d.driver'slicense number)
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         2. After your license plate expires;late.fees.it Ill be dtie.Payinentiniist.be Meelved before expiration date...
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         4. If You no longer own this vehicle, you may submit proofof disposal,such as a copy ofthe.billsofsale or invoke showing the vehicle was traded to
            a dealer,OIL report the information.vialhe Internet at www..expressiane.org.

         S. Lonisianalawrequires.that every registered.vehiele must be coveredby liabilityinsunuice with required limits or other security(RS.31861 eta!).
         6. Wherryou send us a check aspaymeht;you.atOorlze
                                      .                     us to clear your.check electronically. Electronic payments may clear the same day we
            receive payment,


                                     Give the gift of life. Become an organ and tissue donor.
                           To receive a Donor Registry Form, please visit WWW.DONATELIFELA.ORG



                                      SAVE TIME - RENEW ONLINE
                                         www.expressianeuorg
         Any change ofaddress or vehicle information in the boxes should be noted on the lines below.




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Mt472B/MV1720
     Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 40 of 72 PageID #: 47



                                                        Louisiana Department of Public Safety and
                                                        Corrections
                                                        Office of Motor Vehicles
                                                        P.O. Box 64886
                                                        Baton Rouge, Louisiana 70896



                  Your Vehicle Registration renewal is complete.

                  This receipt is proof that your Vehicle Registration is current as the
                  update may not occur for 24 hours.

                 Your Vehicle Registration will be mailed soon. If you do not receive
                 your Registration within 30 days, contact your local Office of Motor
                 Vehicles or contact Headquarters at 225-925-7198 or 225-925-6146.



                   Name:                                    ROBBIE SAVOIE AND
                   Plate Number:                            371CIF
                   Confirmation Number: 35356580
                  Payment Date/Time:                        03/01/2020 at 6:57PM
                   Payment Total:                          $71.90
                   Payment Method:                          VISA *4297
                   New Expiration Date: 4/30/2022
                   Cardholder Name:                         ALLISON SAVOIE
                   Billing Address:                         7829 MCCINDY
                                                            LAKE CHARLES, LA 70607
                   Email:                                   allisav12@gmail.com




                   Vehicle Registration
                                                               $70.00
                   Renewal
                   Service Charge                                 $1.90

https://dps.expresslane.org/vehicleregistralion/RegistralionRenewal/fleceipt                        3/1/20,657 Pm
                                                                                                         Page 1 of 2
    Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 41 of 72 PageID #: 48
                 I Total Paid                                 I $71.90 I



                           Did you know you can...

                               O Renew your Louisiana Driver's License
                               O Renew your Louisiana Identification Card
                               O Purchase your Official Driving Record
                               O Renew your Louisiana Vehicle Registration
                               O Obtain a duplicate Louisiana Vehicle Registration
                               O Determine if a mobile home is no longer registered as a
                                 motor vehicle

                  ALL ONLINE!
                 litips://www.expresslane.org




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2/21/2020                                                                                    Mail - Savoie, Allison - Outlook
       Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 42 of 72 PageID #: 49
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        Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 43 of 72 PageID #: 50
                                       CALCASIEU PARISH SCHOOL SYSTEM
                                    HEALTH /LIFE GROUP INSURANCE ENROLLMENT

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 Date ofIfue:       14                 .iPosition:
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 Type ofCoverage: Eihe'4 ell                   Date o.                                                      o Late Enrollee
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• Life Ano1lnt           jaseficiary's Name(Print)                 Relationship to Empl,yo ec
                 °      15obhy 72 S vefe                            /714 5h.gerYlee
 DO YOU'WAN YOUR ELIGIBLE DEPENDENTS COVERED?
 I If NO,pleas • itial: I HEREBY DECLINE PARTICIPATION IN D ENDENT COVERAGE
 2. EYES,please céihipjete the following:
    A. SPOUSE TO BE            D:
 Name                                                   Spouse's emplo

 Date ofBirth                                                             Coveiage effective date

 Social Security Number                                                   Medic= effective date
     B. CHILDREN TO BE INSURED:
                  NAME                         SEX                   SOCIAL SECURITY NUMBER                     ENROLL DATE



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     Ateso4lk.SAvoic                            M        11-?/- DI                     JUN 21 2010              If -
                                                                                       C.P. S. B.
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 Regarding children, please initial:       understand dependents may be eligible for coverage until their 21'
 birthday and such coverage can be continued to their 24th birthday as long as they are FULL TIME,
 ENROLLED AND ATTENDING secondary accredited school.
                                   ENROLLMENT CHOICES
 L I am electing enrollment in the following gr p health plan option (initial one):
         LOW                  MID             GH

 IL Optiojal Life and AD&D (initial one):
           elect Optional Life and AD&D and until revoked by me in writing, authorize the deduction by my
 employer from my earnings the amount sufficient to cover my contribution for this coverage.
         I decline Optional Life and AD&D for which lain eligible and understand thatI may be required to
 furnish proofofgood health ifI enroll at a later date.

                      PLEASE INITIAL AND SIGN WHERE INDICATED BELOW
   #(61-1tiereby authorize my employer to deductfrom my earnings premium sufficient to cover my
 con 'bu • for insurance coverage requested above and acknowledge participation in Section 125.
         o avoid certain pre-existing condition exclusions,I understand it is my responsibility to provide to
 the CPSB a certificate ofgroup health insurance coverage from my prior carrier for myselfand
    eirts.
  ds6   ough dependents can be added at any time,they cannot be deleted at anytime. I understand all choices
 made,including choice-of plan, will remain in effect until next year's annual enrollment.(April of each
 year with a May 1 effective date.).

    By signature,below,I acknowledge the following: The policy for which I am enrolling contains various
  limits,conditions and exclusions,including pre-existing condition coverage limitations. Failure to enroll
  eligible dependents at this time may result in more severe pre-existing coverage limitations should they be
  enrolled at a later date. I acknowledge receipt of a policy booklet detailing the above information and
  acknowledge I have received COBRA information, which details my rights,and obligations regarding
  possible continuation ofcoverage should my employment terminate.
    I understand CPSB Risk Management employees are prohibited from encouraging me to choose any plan or
                 .• • I V • II •
   '• •
2/21/2020
        Case 2:20-cv-01698-JDC-KK Teachers'
                                   Document RetirementSystem of Louisiana - EmploymentSummary
                                                   1-1 Filed 12/29/20 Page 44 of 72 PageID #: 51
                                                       EmploymentSummary

                    SAVOIE ALLISON M                                       Designated Beneficiaries
                    7829 MCCINDY RD                                        SAVOIE ALEC D                      CHILD
                    LAKE CHARLES LA 70607-0735                             SAVOIE ROBBY D                     SPOUSE


                                      DROP ELIGIBILITY: The first time you reach one of the following:
                                           25 Years Age 55, 10 Years Age 60,30 Years Any Age

                         Thisarea mayinclude employmentdalesfor time penbds where service aedit waslefunded.
                           Refunded years thathave notbeen restored are notincludedin your totalsenate credit

                                                               Employment Histo
                    Employer         Employer Name                              Plan Name          Start Date       End Date
                       ID
                      0010 CALCASIEU Sc BD                                     Regular Plan       08/16/2000
                      0098 MCNEESE                                             Regular Plan       05/01/2007       05/31/2007

                                                       TRSL Regular Plan Information
                                           Service credit earned cannot exceed 1.00 year in afiscal year.
                              Unaudited Service Credit                                Member Contributions Summary                •
                      Prior years'service credit for benefit                Beginning balance as of 06/30/2019:             63,256.85
                                              computation:         18.73
                                                                         Estimated current FY contributions
                             Purchases/Transfers/Refunds:           0.00 7/1/2019 through 1/31/2020:                         2,208.70

                       Prior years'servce credit for benefit               Purchases/Transfers/Refunds:                          0.00
                                  computation corrections:          0.00
                                                                           Prior Year Contributions Corrections:                 0.00
                 Total unaudited service credit for benefit
                                            computation':          18.73 Estimated balance as of 2/21/2020:                 65,465.55

              Total unaudited Service credit for benefit                   Total unaudited service credit for eligibility
              computation as of 06/30/2019'                                purposes as of 06/30/2019%                           18.97
                            Service Type         Amount
                        Regular                       18.73                Monthly Average Compensation:                    $4,642.99
                        Total                        18.73

             if these figures are different, your employer has certified that you have some part-time employment. Any discrepancies in
             salaries, service credit, or contributions should be addressed with your employer. All amounts are subject to audit and
             change.




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       Case 2:20-cv-01698-JDC-KK   m Retirement Document
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                                  '             a        1-1                 Filed 12/29/20 Page 45 of 72 PageID #: 52
                                        Louisiana
         P.O.Box 94123•Baton Rouge.LA 70804-9123




                 SAVOIE ALLISON M
                 7829 MCCINDY RD
                 LAKE CHARLES LA 70607-0735




Member Account Statement for SAVOIE ALLISON M
July 1,2018 —June 30, 2019

Member Information                              Designated Beneficiaries
DOB: 08/2611969                                 SAVOIE ROBBY D
GENDER: FEMALE                                  SAVOIE ALEC D


You can update/correct the information listed above. Here's how:
• For address corrections, visit our website at www.trsi.org. From there, you can download and submit an Active Mem-
  ber Change ofAddress Authorization(Form 2AC)or use the Member Access system.
• For corrections to date of birth or gender, call TRSL at 225-925-6446(local area) or toll free (outside the Baton
  Rouge area)at 1-877-ASK-TRSL(1-877-275-8775).

    2018 — 2019
            EMPLOYER                                         EARNINGS                                CONTRIBUTIONS
         CALCASIEU SC BD                                 $     58,446.90                              $   4,515.75




            •                    TOTAL:             ,       g 56,446.90                               g     4,515.75


 Your TRSL Account Information (see "Statement Definitions" on back.)
 Service credit earned cannotexceed 1.00 year In a fiscal year.
                     SERVICE CREDIT                                                   MEMBER CONTRIBUTIONS
                 Prior year service credit          17.73                                                          $   58,741.10
                                                                           Beginning balance as of July 1,2018
                for benefit computation
    2018 — 2019 service credit for benefit           1.00                                                               4,515.75
                                                                           Member contributions 2018 — 2019        $
       computation earned during this FY
                Purchases/Transfers/Refunds          0.00                          Purchases/Transfers/Refunds     $       0.00

               Prior year service credit for         0.00                                                                  0.00
                                                                            Prior year contributions corrections   $
          benefit computation corrections
                     Total service credit for       18.73                                                              63,256.85
                                                                            Ending balance as of June 30, 2019     $
                     benefit computation*

                                           Total service credit for eligibility
                                                                                      18.97
                                             to retire as of June 30,2019*
*If these figures are different, your employer has certified that you have some part-time employment. Any
discrepancies in salaries,service credit, or contributions should be addressed with your employer. All amounts
are subject to audit and change.

Information About Your Service Credit and Contributions
     Case
SAVOIE     2:20-cv-01698-JDC-KK
       ALLISON M                                                     Document 1-1 Filed 12/29/20 Page 46 of 72 PageID
                                                                                                             Regular    #: 53
                                                                                                                     Plan


     It's never too early to plan for your retirement!
TRSL provides valuable benefits, including:
• RETIREMENT benefits when you reach the required retirement eligibility(age and years of service credit)
• DISABILITY benefits should you become totally and permanently disabled while in active service*
• SURVIVOR benefits for certain family members should you die while in active service*
*Must have the required years ofservice
Visit TRSL's website at www.trsLorg for more information on these important benefits, including our publications TRSI.
Member Handbook,DROP Handbook,Disability Retirement, and Death & Survivor Benefits.

 Retirement Eligibility Requirements for Regular Plan

 SERVICE ELIGIBILITY 5 years at age 60 20 years at any age(reduced benefit)* 25 years at ago 55 30 years at any age
                             The first time you reach one of the following:
 DROP ELIGIBILITY             10 years at age 60'25 years at age 55*30 years at any age


  Projected Retirement Eligibility and Benefit Estimate for SAVOIE ALLISON M
 The following table shows a projection of your retirement eligibility dates and your maximum TRSL retirement benefit based on various retirement
 scenarios. The projections are based on current information as reported by your employer(s)and assume continuous TM-covered,full-time em-
 ployment. The final average compensation(FAC)is an average of your current highest three(3)consecutive years of earnings as submitted by your
 employer. Future salary increases are not included in the FAC used in these projections.
 This estimate is provided to help you make informed decisions about your retirement benefit and is not a guarantee of when you will be eligible or
 the amount you will receive at the time you retire.The actual pension you receive at retirement and when you will be eligible to retire are
 determined by state law.When you retire, your pension will be calculated according to the applicable retirement calculation formulas.
                                                         Fiscal         Service         Service Credit                                              Maximum
                                                                                                                               FAC
                    Scenario                            Year of        Credit for        for Benefit          Age                                Monthly Benefit
                                                       Eligibility     Eligibility      Computation                         (Month;y)                Amount
 Early Retirement                                    2019-2020           20.00              19.76             50            4,642.99                1,528.00
 Regular Retirement/Drop Eligibility                 2024-2025          25.00               24.76             55            4,642.99                2,874.00


 Your early retirement benefit estimate Is based on a 2% benefitfactor or a 2.5% actuarially reduced factor.The ago shown for all projected future
 benefits Is your ago at July 1 ofthe fiscal year you become eligible.Contact TRSL for more information on your retirement options.


DROP = Deferred Retirement Option Plan

If you choose to name a beneficiary, your monthly benefit amount may be lower. Use TRSIA online calculator at
www.trsLorg to calculate projections of your Service or DROP benefits.

 Statement Definitions
 Designated Beneficiaries      The person(s) you have named who will receive your member contributions if survivor benefits are not payable. If you have named
                               more than three persons, you will see "More than three beneficiaries" in this section. To change your beneficiaryfies1 complete a
                               Beneficiary Designation(Form 3), which can be obtained from your employer or our webslte at www.trshorg.
 Fiscal Year                   The period(July 1 —June 30)in which your earnings and contributions were reported.
 Employer                      Name of the employing agencyfies)that provides earnings Information.
 Earnings                      Total actual annual salary(ies) as reported by your employer(s).
 Contributions                 Member contributions withheld based upon earnings reported by your employer(s).
                                SERVICE CREDIT*                                                                 MEMBER CONTRIBUTIONS*
 Prior year service credit     Computation credit from the previous year's statement.       Beginning balance          Your ending account balance from the
 for benefit computation                                                                    as of July 1,2018          previous fiscal year's member statement.
 2018 —2019 service            Credit earned as reported by your employer.                  Member contributions       Member contributions reported by
 creditfor benefit                                                                          2018 —2019                 employer(s)during the fiscal year.
 computation earned
 during this fiscal year
 Purchasesfltansfers/          Current service credit purchases, transfers to/from TRSL,    Purchases/Transfers/       Current member contributions for purchases,
 Refunds                       or refunds of contributions for this statement's fiscal      Refunds                    transfers to/from TRSL,or refunds of
                               year.                                                                                   contributions for this statement's fiscal year.
 Prior year service credit     Corrections made(+/-) by your employer(s)correcting          Prior year contributions   Corrections made(44 by your employer(s)
 for benefit computation       prior fiscal years' credit.                                  corrections                correcting prior fiscal years'contributions.
 corrections
 Total service creditfor       Your credit balance at the end of the fiscal year as         Ending balance             Your balance from the previous years
 benefit computation           reported by your employer(s)that will determine how          as of June 30,2019         statement+ contributions + purchases/
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                         Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 47 of 72 PageID #: 54
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  Account
  MEMBERSHIP 8: BILLING                    rObsavgsuddenlink.net                                             Change account email

           C4rrqel.Mernb.Orship.
                                           Password: ********                                                    Change password
                                                                                                                Add phone number

                                           Your next billing date is March 10,2020.                           Update payment info
                                           VISA -Go-            1048                                                 Billing details
                                                                                                                Change billing day

                                                                                                Redeem gift card or promo code
                                                                                                            Where to buy gift cards


 PLAN DETAILS                              Standard E-ID                                                              Change plan

                                           No DVD plan                                                              Add DVD plan


 SETT'NGS                                  Parental controls
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                    Your plan
                    Standard for $12.99/month
                    2screens + 11-1D

            ' Your next bill
                    March 10,2020

              Membership fees are billed at the beginning of each period.and may take a few days after the billing date to appear on your account. Sales tax may apply.




              Date                         Description                     Service period                           Payment method                                          Total
             2/10/20                      Streaming Service                2/10/20-3/9/20                           VISA ^•-• •••••—• 1048                                $12.99
                                                                                                                             .    •   •



             1/10/20                      Streaming Service                1/10/20-2/9/20                           VISA et••• •••• *coo 1048,                            $12.99
             12/10/19                     Streaming Service                12/10/19-1/9/20                          VISA SSWD see. cc.. 1048                              $12.99
                                           . . .
             11/10/19                     Streaming Service                11/10/19-12/9/19                         VESA         •5-0•• 1048                              $12.99
             10/10/19                     Streaming Service                10/10/19-11/9/19                         VISA --- • 1048                                       $12.99
                                                                                                                        _
            9/10/19                       Streaming Service                9/10/19-10/9/19                          VISA 50. WSeS Sn. 1048                                $12.99
            8/10/19                       Streaming Service                8/10/19-9/9/19                           VISA •"•••• 1048                                      $12.99
            7/10/19                       Streaming Service                7/10/19-8/9/19                           VISA OSce sue- --- 1048                               $12.99
            6/10/19                       Streaming Service                6/10119-7/9/19                           VISA • -.0                048                         $12.99
            5/10/19                       Streaming Service                5/10/19-6/9/19                           VISA ---              --- 1048                        $12.99
            4/10/19                       Streaming Service                4/10/19-5/9/19                           VISA •••• •••• ••cie 1048                             $10.99
            3/10/19                       Streaming Service                3/10/19-4/9/19                           VISA          ••••       1048                         $10.99
            2/10/19                       Streaming Service                2/10/19-3/9/19                                    •••• ***6 •••• 1048                          $10.99

            NOTE: We only show up to 1 year of billing history
••••   • •••    • 41.0 • ••••••I   ••                                                                                                                                                                               TO'   WO
                                        Case 2:20-cv-01698-JDC-KK Documentmyacco.untentergy.com
                                                                           1-1 Filed 12/29/20 Page 49 of 72 PageID #: 56

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           Home > Billing and Payment History                                                                                                                                           !Sign outj Printable Page"4-

                        My Entergi/AccOunt         Billing and Payment History
               Account Summary                     Below is a list of your Enteroy bills and payments.
               Add Accounts
                                                   Name                     ROBBY D SAVOIE
               Account.Detail                                                                                                                                     Bectric (ptliFill) Usage
               View.My Bill •                      ACcounit N.urniber.110132037                                                                       at
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               Pay My Bill                                                                                                                            D
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A Prudential
    Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 51 of 72 PageID #: 58

The Prudential Insurance Company of America                            Email:                grouplifeclaims@prudential.com
Beneficiary Services                                                   Secure Fax:          (844)625-7807
P.O. Box 70182
Philadelphia, PA 19176                                                 Phone:               (800)524-0542
                                                                       Phone Hours:         8:00 a.m. to 8:00 p.m. ET
       00000057 P1NH01DD062520220212 01 003000


        R ussell J. Stutes III                                         Insured:         Robby D Savoie
        Stutes & Lavergne                                              Contract Holder: NEA Members Ins.
        Attorneys at Law                                               Policy Number: 20400
        P.O. Box 1644                                                  Claim ID:        C-2020-038786
        Lake Charles, LA 70602
                                                                       June 25, 2020


Dear Russell J. Stutes III,
We have received your correspondence dated June 11, 2020 appealing our denial of the claim for Death Benefit
for Robby D Savoie under the NEA Members Ins. Group Policy. We will complete our review using the
information currently in file.

We will review the claim and anticipate having a decision no later than 45 days from the date of receipt of your
written request for reconsideration of the initial claim denial. The review will take into account all new
information, whether or not presented or available at the initial determination. If we determine that special
circumstances require an extension of time for a decision on appeal, the review period may be extended by an
additional 45 days(90 days in total). We will notify you in writing if an additional 45-day extension is needed.

Prudential reserves the right to assert any and all claims and defenses that it may have, whether or not expressly
stated herein or in any other correspondence.

If you have any questions, we're here to help.
The loss of a loved one is indeed a time of great sadness. It also may be a time of uncertainty and confusion on
what to do next. We understand this, and that's why we developed a Beneficiary Support Center to help you
through these difficult times. The Beneficiary Support Center is an online resource hub that includes:
information on funeral planning, a list of key tasks you may need to address in the wake of the loss of a loved
one, and financial, legal, and emotional support resources. These resources can be accessed at
https://www.prudential.com/personal/workplace-benefits/death-claims. They are available at no cost to, or
commitment from, you or your loved ones.

If you have questions please call our customer service office at(800)524-0542 and provide reference number
C-2020-038786. We are available Monday through Friday between 8:00 a.m. and 8:00 p.m. Eastern time. If
you are using a telecommunications device for the hearing impaired, please call (800) 778-8633, Monday
through Friday between 8:00 a.m. and 6:00 p.m. Eastern time. One of our customer service representatives will
be glad to help you.

Sincerely,
Elsy Gilles
Claims Coordinator

                                    Deputy Clerk of Court
                                    Calcaeleu Parlsk Loulolono




Life insurance is issued by The Prudential Insurance Company of America, Pruco Life Insurance Company(except in NY and/or NJ),
or Pruco Life Insurance Company of New Jersey (in NY and/or NJ).
                                                                          Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 52 of 72 PageID #: 59
                                                                        A Prudential
                                                                        The Prudential Insurance Company of America                              Email:              grouplifeclaims@prudential.com
                                                                        Beneficiary Services                                                     Secure Fax:        (844)625-7807
                                                                        P.O. Box 70182
                                                                        Philadelphia, PA 19176                                                   Phone:             (800) 524-0542
                                                                                                                                                 Phone Hours:       8:00 a.m. to 8:00 p.m. ET
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                                                                                R ussell J. Stutes III                                           Insured:         Robby D Savoie
                                                                                Stutes & Lavergne                                                Contract Holder: NEA Members Ins.
                                                                                Attorneys at Law                                                 Policy Number: 20400
                                                                                P.O. Box 1644                                                    Claim ID:        C-2020-038786
                                                                                Lake Charles, LA 70602
                                                                                                                                                 July 2, 2020


                                                                        Dear Russell J. Stutes III,
                                                                        We have received your correspondence dated June 11 2020 appealing our denial of the claim for Death Benefit
                                                                        for Robby D Savoie under the NEA Members Ins. Group Policy. At this time, we are in need of the following:
00001197 0001197 0001 0002 PI1'1H01D0070220220922 STNDS6X901 00001211




                                                                           • Proof Mr. Allison M. Savoie "cohabited" with Robby D. Savoie at least 6 months prior to Date of Death.

                                                                        We will review the claim and anticipate having a decision no later than 45 days from the date of receipt of your
                                                                        written request for reconsideration of the initial claim denial. The review will take into account all new
                                                                        information, whether or not presented or available at the initial determination. If we determine that special
                                                                        circumstances require an extension of time for a decision on appeal, the review period may be extended by an
                                                                        additional 45 days(90 days in total). We will notify you in writing if an additional 45-day extension is needed.

                                                                        Prudential reserves the right to assert any and all claims and defenses that it may have, whether or not expressly
                                                                        stated herein or in any other correspondence.

                                                                        If you have any questions, we're here to help.
                                                                        The loss of a loved one is indeed a time of great sadness. It also may be a time of uncertainty and confusion on
                                                                        what to do next. We understand this, and that's why we developed a Beneficiary Support Center to help you
                                                                        through these difficult times. The Beneficiary Support Center is an online resource hub that includes:
                                                                        information on funeral planning, a list of key tasks you may need to address in the wake of the loss of a loved
                                                                        one, and financial, legal, and emotional support resources. These resources can be accessed at
                                                                        https://www.prudential.com/personal/workplace-benefits/death-claims. They are available at no cost to, or
                                                                        commitment from, you or your loved ones.

                                                                        If you have questions please call our customer service office at(800) 524-0542 and provide reference number
                                                                        C-2020-038786. We are available Monday through Friday between 8:00 a.m. and 8:00 p.m. Eastern time. If
                                                                        you are using a telecommunications device for the hearing impaired, please call (800) 778-8633, Monday
                                                                        through Friday between 8:00 a.m. and 6:00 p.m. Eastern time. One of our customer service representatives will
                                                                        be glad to help you.
                                                                                                                   FILED                           2020
                                                                        Sincerely,
                                                                        Elsy Gilles
                                                                        Claims Coordinator
                                                                                                                                                      fef)
                                                                                                                   Deputy Mork of Court
                                                                                                                   Calcasieu Parish, Louisiana




                                                                        Life insurance is issued by The Prudential Insurance Company of America, Pruco Life Insurance Company(except in NY and/or NJ),
                                                                        or Pruco Life Insurance Company of New Jersey (in NY and/or NJ).
   Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 53 of 72 PageID #: 60
         Prudential
The Prudential Insurance Company of America                              Email:              grouplifeclaims@prudential.com
Beneficiary Services                                                                        (844)625-7807
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P.O. Box 70182
Philadelphia, PA 19176                                                   Phone:             (800)524-0542
                                                                         Phone Hours:       8:00 a.m. to 8:00 p.m. ET
         00000807 PINHO I DD072920221001 01 003000


   •
 t*Ii!   Russell J. Stutes Ill                                           Insured:         Robby D Savoie
         Stutes & Lavergne                                               Contract Holder: NEA Members Ins.
         Attorneys at Law                                                Policy Number: 20400
         P.O. Box 1644                                                   Claim ID:        C-2020-038786
         Lake Charles, LA 70602
                                                                         July 29, 2020


Dear Russell J. Stutes III,
Per your request, we are reconsidering our denial of the claim for Death Benefit for Robby D Savoie under the
NEA Members Ins. Group Policy. We will require an extension of the time to process the appeal.

We anticipate making a determination of this appeal by 45 days from letter. If we are unable to make a
determination on this claim by that date, we will advise you in writing.

If you have any questions, we're here to help.
The loss of a loved one is indeed a time of great sadness. It also may be a time of uncertainty and confusion on
what to do next. We understand this, and that's why we developed a Beneficiary Support Center to help you
through these difficult times. The Beneficiary Support Center is an online resource hub that includes:
information on funeral planning, a list of key tasks you may need to address in the wake.of the loss of a loved
one, and financial, legal, and emotional support resources. These resources can be accessed at
https://www.prudential.com/personal/workplace-benefits/death-claims. They are available at no cost to, or
commitment from, you or your loved ones. ,

If you have questions please call our customer service office at(800)524-0542 and provide reference number
C-2020-038786. We are available Monday through Friday between 8:00 a.m. and 8:00 p.m. Eastern time. If
you are using a telecommunications device for the hearing impaired, please call (800) 778-8633, Monday
through Friday between 8:00 a.m. and 6:00 p.m. Eastern time. One of our customer service representatives will
be glad to help you.

Sincerely,
 Elsy Gilles
Claims Coordinator                                   FILED
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                                                     Deputy Clerk of Court
                                                     Calcasieu Parish. Louisiana




Life insurance is issued by The Prudential Insurance Company of America, Pruco Life Insurance Company(except in NY and/or NJ),
or Pruco Life Insurance Company of New Jersey(in NY and/or NJ).
     Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 54 of 72 PageID #: 61
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                      A TT ORNEYS AT LAW                                                                                                           DEIL J. LALANDE 3
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                                                                                                                                                    MARIA MILLER 2'4
 M ailing Address: P.O. Box 1644, Like chaacs, LA 70602                                                                                         RUSSELL J..STuTES, III 2
                                                                                                                                                        01 CouNsla.
                                                                                                                                             ROBERT C. MCCORQUODALE



                                                                             August 21, 2020


                  Via.FedEx Priority Overnight Delivery

                  Elsy Gilles
                  The Prudential Insurance Company of Arrierica
                  Group Life Claim Division
                  PO Box 8517
                  Philadelphia,PA 19176


                           Re:            Insured: Robby D. Savoie
                                          Control Number: G-20400
                                          Claim Number: 11929839

                  Dear Ms. Gilles:
                         In response to your letter requesting additional information, please see the
                  attached Affidavit of Allison Savoie with exhibits regarding the above referenced
                  claim.
                           With kind regards, I am
                                                                                                               Sincerely,


                               FILED                      NOV 1 8 2028
                                                   OM lie                                                      Russell J. Suites, III
                           Deputy Clerk of
                                           Court
                           Calcasieu Pariah,
                                             Louisiana




Lake Charles:(337)433-0012 Fax:(337).433-0601                                 StutesLaw7com                                         600 Broad Street, Lake Charles, LA 70601
Jennings:(337) 246-998.8   Fax:(337)246-9991 .                             InjuryLawSWLA.coin                                                                     LA
                                                                                                                                  207 North Church Street, Jennings 70546


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Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 55 of 72 PageID #: 62




               STATE OF LOUISIANA
                                                                                    AFFIDAVIT
               PARISH OF CALCASIEU


                      BEFORE ME,the undersigned Notary Public,commissioned in and for the
               aforesaid Parish and State, personally came and appeared ALLISON SAVOIE,
               who, after being duly sworn, deposed and stated as follows:
               1.     I am the former spouse ofRobby D.Savoie("Robby");

               2.     Robby and r were divorced on August 23, 2018. However, we began
                      rekindling our relationship in early 2019 and became increasingly romantic.
                      Our relationship immeasurably strengthened when Robby was diagnosed
                      with severe liver cancer on May 19,2019.

               3.     Mound the time ofRobby's diagnosis,I began spending nights at his home,
                      located immediately adjacent to mine, to both further our relationship and
                      care for him in his illness;

               4.     While it is difficult to describe what we specifically did to "cohabit," I can
                      offer the following details ofour relationship;

               5.     We shared our vehicles in both ofour names(see "Exhibit A");

               6.     We listed each other as beneficiaries on various retirement and life
                      insurance plans(see "Exhibit B");

               7.     We shared household expenses such as utilities (see "Exhibit C") and
                      Netflix subscriptions (see "Exhibit D"); maintained/paid joint credit cards
                     (see "Exhibit E"); and shared other day to day expenses that we incurred;

               8.     It is traditional in Louisiana for the decedent's parents or siblings to write
                      the obituary, and Robby's family named me as his spouse when they wrote
                      his obituary(see "Exhibit F");

               9.     I held Robby's hand as he died on November 23,2019;

               10.    I made all arrangements for Robby's funeral;

               11.    Above all, we loved each other and would have continued our lives as a
                      married couple had cirrhosis ofthe liver not taken his life.

               The Affiant sayeth further not.




                                    [SIGNATURE PAGE TO FOLLOW]




                                                         1
Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 56 of 72 PageID #: 63




                      SWORN TO AND SUBSCRIBED before me on this 21" day of August,
              2020.




                                        Russ .Stutes Ill
                                        NOTARY PUBLIC
                                    LA Commission No. 156485
                                   My commission expires at death.




                                                  2
         Case 2:20-cv-01698-JDC-KK
               State of Louigiaita, Office ofDocument   1-1 Filed 12/29/20 Page 57 of 72 PageID #: 64
                                              Motor'Vehicles
               VEHICLE REGISTRATION RENEWAL NOTICE

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                 ROBBIE SAVOIE AND
                 ALLISON SAVOIE
                 7829 MCCINDY ROAD
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                 LAKE CHARLES, LA 70607
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                                     SEE REVERSE SIDE FOR IMPORTANT ,
                                    INFORMATION ON RENEWAL OPTIONS




                                                     ANY QUESTIONS? CALL(225)925-6146
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VEHICLE RENEWAL APPLiCATION FOR:                                                            PO BOX NM
                                                                                            New Orleans, LA 701GO-0081
ROBBIE SAVOIE AND
                                                                                             41"1"1"11111'411110111"In101+1"11101F
ALLISON SAVOIE
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      Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 58 of 72 PageID #: 65

                                                          Louisiana Department of Public Safety and
                                                          Corrections
                                                          Office of Motor Vehicles
                                                          P.O. Box 64886
                                                          Baton Rouge, Louisiana 70896



                  Your Vehicle Registration renewal is complete.

                  This receipt is proof that your Vehicle Registration is current as the
                  update may not occur for 24 hours.

                  Your Vehicle Registration will be mailed soon. If you do not receive
                  your Registration within 30 days, contact your local Office of Motor
                  Vehicles or contact Headquarters at 225-925-7198 or 225-925-6146.



                   Name:                                       ROBBIE SAVOIE AND
                   Plate Number:                              371CIF
                   Confirmation Number: 35356580
                   Payment Date/Time:                         03/01/2020 at 6:57PM
                   Payment Total:                             $71.90
                   Payment Method:                             VISA *4297
                   New Expiration Date: 4/30/2022
                   Cardholder Name:                            ALLISON SAVOIE
                   Billing Address:                            7829 MCCINDY
                                                               LAKE CHARLES, LA 70607
                   Email:                                      allisav12@gmail.corn




                    Vehicle Registration
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                     * Did you know you can...

                               o Renew your Louisiana Driver% License
                               o Renew your Louisiana Identification Card
                               o purchase your Official Driving Record
                               o Renew your Louisiana Vehicle Registration
                               o Obtain a duplicate Louisiana Vehicle Registration
                               o Determine if a mobile home is no longer registered as a
                                 motor vehicle

                ALL ONLINE!
                https://www.expresslane.org




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    A. SPOUSE TO BE I       RED:
Name                                                      Spouse's emplo

Date of Birth                                                                 Coverage effective date

Social Security Number                                                        Medicare effective date
    B. CHILDREN TO BE INSURED:
                 NAME                         SEX        D.O.B.          SOCIAL SECURITY NUMBER                      ENROLL DATE




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Regarding children, please initial:        understand dependents may be eligible for coverage until their 2131
birthday and such coverage can be continued to their 24''' birthday as long as they are FULL TIME,
ENROLLED AND ATIENDING secondary accredited school.
                                   ENROLLMENT CHOICES
I. I am electing enrollment in the following gr p health plan option (initial one):
         LOW                 MID 1UYiUIIGB

If. Optio    Life and AD&D (initial one):
         elect Optional Life and AD&D and until revoked by me in writing, authorize the deduction by my
employer from my earnings the amount sufficient to cover my contribution for this coverage.
        I decline Optional Life and AD&D for which I am eligible and understand that I may be required to
furnish proofofgood health ifI enroll at a later date.

                     PLEASE INITIAL AND SIGN WHERE INDICATED BELOW
         hereby authorize my employer to deduct from my earnings premium sufficient to cover my
con ribu     for insurance coverage requested above and acknowledge participation in Section 125.
        o avoid certain pre-existing condition exclusions, I understand it is my responsibility to provide to •
the CPSB a certificate ofgroup health insurance coverage from my prior carrier for myself and
depepOfils.
  11M-hough dependents can be added at any time,they cannot be deleted at anytime. I understand all choices
made,including choice of plan, will remain in effect until next year's annual enrollment.(April of each
year with a May 1 effective date.).

  By signature below,I acknowledge the following: The policy for which I am enrolling contains various
limits,conditions and exclusions,including pre-existing condition coverage limitations. Failure to enrol
eligible dependents at this time may result in more severe pre-existing coverage limitations should they be
                                                                                                                                   EXHIBIT
enrolled at a later date. I acknowledge receipt of a policy booklet detailing the above information and
acknowledge I have received COBRA information, which details ray rights,and obligations regarding
possible continuation ofcoverage should my employment terminate.
                                                                                                                                    E  P

  I understand CPSB Risk Management employees are prohibited from encouraging me to choose any plan o
                .•. .
    "•
                                                         Employraeut Summary
          Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 61 of 72 PageID #: 68

                     SAVOIE ALLISON M                                         Designated Beneficiaries
                     7829 MCCINDY RD                                          SAVOIE ALEC D                     CHILD
                     LAKE CHARLES LA 70607-0735                               SAVOIE ROBBY D                    SPOUSE


                                       DROP ELIGIBILITY: The first time you reach one of the following:
                                            25 Years Age 55, 10 Years Age 60,30 Years Any Age

                          This area may include employment dates for time periods where service credit was refunded.
                            Refunded yews thathave not been restored are notincludedin your totalservice credit

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                      0010 CALCASIEU SC BD                                        Regular Plan        08/16/2000
                      0098 MCNEESE                                                Regular Plan        05/01/2007    05/31/2007

                                                        TR5L Regular Plan Information
                                            Service credit earned cannot exceed 1.00 year in a fiscal year.
                               Unaudited Service Credit                                Member Contributions Summary
                       Prior years service credit for benefit                  Beginning balance as of 06/30/2019:             63,256.85
                                               computation:           18.73
                                                                            Estimated current FY contributions
                               Purchases/Transfers/Refunds:            OAK) 7/1/2019 through 1/31/2020:                         2,208.70

                       Prior years'servce credit for benefit                   Purchases/Transfers/Refunds:                        0.00
                                  computation.corrections:             0.00
                                                                               Prior Year Contributions Corrections:               0.00
                 "RAM unaudited service credit for benefit
                                           computation*:              18.73 Estimated balance as of 2/21/2020:                 65,465.55

              Total unaudited service credit for benefit                      Total unaudited service credit for eligibility
              computation as of 06/30/2019'                                   purposes as of 06/30/2019*:                          18.97
                            Service Type         Amount
                        Regular                       18.73                   Monthly Average Compensation:                    $4,642.99
                        Total                 f      18.73
            'If these figures are different, your employer has certified that you have some part-time employment. Any discrepancies in
            salaries, service credit, or contributions should be addressed with your employer. All amounts are subject to audit and
            change.




https://webaccess.trsi.state.la.usIEIVIISAS(1xtromuliqqyiblv01114h55))/Inquiry/iVibrEmploymentSummary.aspx
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                    94123;Baton Rouge, LA 70804-9123 Document 1-1 Filed 12/29/20 Page 62 of 72 PageID #: 69




                SAVOIE ALLISON M
                7829 MCCINDY RD
                LAKE CHARLES LA 70607-0735




Member Account Statement for SAVOIE ALLISON M
July 1, 2018 —June 30, 2019

Member information                                Designated Beneficiaries
DOB: 08/2611969                                    SAVOIE ROBBY D
GENDER: FEMALE                                     SAVOIE ALEC 13



You can update/correct the Information listed above. Here's how:
•   For address corrections, visit our ‘.^.febsite at trywvarsl.org. From there, you can download and submit an Active Mem-
    ber Change ofAddress Authorization (Form 2AC) or use the Member Access system.

•   For corrections to date of birth or gender, call TRSL at 225-925-6446(local area) or toll free (outside the Baton
    Rouge area) at 1-877-ASK-TRSL (1-877-275-8775).

    2018 — 2019
              EMPLOYER                                          EARNINGS                                CONTRIBUTIONS
           CALCASIBU Sc BD                                 $      56,446.90                             $    4,515.75




                                   TOTAL:                      s 56,446.90                                     4,51535


Your TRSt Account.lpformation (see usAetement Definitions" on hock.)
Service credit earned cannot exceed 7.00 year in a fiscal year.
                          SERVICE CREDIT                            .                    f.A*BP:VPWRIBUPPN .
                      Prior year service credit       17.73                                                               58341.10
                                                                              Beginning balance as of July 1, 2018    $
                     for benefit computation
    2018 — 2019 service credit for benefit              1.0                                                               .11,51.75
                                                                              Member contributions 2018 — 2019        $
       computation earned during this FY.
               Purchases/transfers/Refunds              0.00                          Purchases/Transfers/Refunds     $       0.00

               Prior year service credit for            0.00                                                                  0.00
                                                                               Prior year contributions corrections   $
          benefit computation corrections
                       Total service credit for       18.73                    Ending balance as of June 30, 2019     $   63,25615
                       benefit.computation*

                                              Total service credit for eligibility
                                                                                         18.97
                                                to retire as of June 30,2019*

*If-these figures are different, your employer hzis certified that you have sonie part-time employment. Any
discrepancies in salaries, service credit,- or contributions,should be addressed with your employer. All amounts
are subjectto audit and change.

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     It sCase 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 63 of 72 PageID #: 70
          never       too early to plan for your retirement!
IRSL provides Valuable benefits,including:
• RETIREMENT benefits when you reach the required retirement eligibility(age and years of service credit)
• DISABILITY benefits should you become totally and permanently disabled while in active service*
• SURVIVOR benefits for certain family members should you die while in active service*
*Must have the required years ofservice
Visit TRSL's website at www.trsLorg for more information on these important benefits,induding our publications TRSL
Member Handbook,DROP Handbook,Disability Retirement,and Death & Survivor Benefits.

 Retirement Eligibility Requirements for Regular Ran
 SERVICE ELIGIBILITY 5 years atage 60'20 years at any age(reduced benefit)* 25 years at age 55*30 years at any age

                             The first time you reach one of the following:
 DROP ELIGIBIUTY              10 years at age 60•25 years at age 55* 30 years at any age


  Projected Retirement Eligibility and Benefit Estimate for SAVOM ALLISON M
 The following table shows a projection of your retirement eligibility dates and your maximum 111.5L retirement benefit based on various retirement
 scenarios. The projections are based on current information as reported by your employer(s)and assume continuous TR51.-covered, full-lime em-
 ployment. The final average compensation(FAC)is an average of your current highest three(3)consecutive years of earnings as submitted by your
 employer. Future salary increases are not Included in the FAC used in these projections.
 This estimate is provided to help you make informed decisions about your retirement benefit and is not a guarantee of when you will be eligible or
 the amount you will receive at the time you retire. The actual pension you receive at retirement and when you will be eligible to retire are
 determined by state law. When you retire, your pension will be calculated according to the applicable retirement calculation formulas.
                                                         Fiscal          Service        Service Credit                                              Maximum
                                                                                                                             FAC
                    Scenario                            Year of         Credit for       for Benefit          Age                                Monthly Benefit
                                                                        Eligibility     Computation                        (Monthty)                 Amount
                                                       Eligibility
 Early Retirement                                    2019 - 2020         20.00               19.76            50            4,642.99                1,528.90
 Regular Retirement/Drop Eligibility                 2024 -2025          25.00               24.76            55            4,642.99                2,874.00


 Your earty retirement benefitestimate is based on a 2% benefitfactor or a 2.5% actuarially reduced factor.The age shownfor all projected future
 benefits is your age at July 1 of the fiscal year you become eligible. Contact TRSL for more information on your retirement options.


DROP = Deferred Retirement Option Plan

If you choose to name a beneficiary, your monthly benefit amount may be lower. Use TRSL's online calculator at
www.trsLorg to calculate projections of your Service or DROP benefits.

 Statement Definitions
 Designated Beneficiaries      The person(s) you have named who will receive your member contributions if survivor benefits are not payable. If you have named
                               more than three persons,you will see More than three beneficiaries" In thls section.To change your beneficiary(ies), complete a
                               Beneficiary Designation (form 3), which can be obtained from your employer or our website at www.totorg.
 Fiscal Year                    The period (July 1 —June 30)in which your earnings and contributions were reported.
 Employer                       Name of the employing agencyfies)that provides earnings information.
 Earnings                       Total actual annual salarytes)as reported by your employer(s).
 Contributions                  Member contributions withheld based upon earnings reported by your employer(s).
                                  SERVICE CREDIT*                                                                MEMBER CONTRIBUTIONS*
 Prior year service credit      Computation creditfrom the previous years statement          Beginning balance          Your ending account balance from the
 for benefit computation                                                                     as of July 1,2018          previous fiscal years member statement.           1
 2018 —2019 service             Credit earned as reported by your emptoyer.                  Member contributions       Member contributions reported by
 creditfor benefit                                                                           2018 —2019                 employer(s)during the fiscal year.
 computation earned
 during this fiscal year
 PurchasesThansfers/            Current service credit purchases, transfers to/from TRSI.,   Purchases/Transfers/       Current member contributions for purchases,
 Refunds                        or refunds of contributions for this statementt fiscal       Refunds                    transfers to/from TRSt. or refunds of
                                year.                                                                                   contributions for this statement's fiscal year.
 Prior year service credit      Corrections made(44 by your employer(s)correcting            Prior year contributions   Corrections made(+/-)by your employer(s)
 for benefit computation        prior fiscal years'credit,                                   corrections                correcting prior fiscal years' contributions.
 corrections
 Total service credit for      • Your credit balance at the end of the fiscal year as        Ending balance         •   Your balance from the previous year's
 benefit computation             reported by your employer(s)that wit determine how          asof Tune 30,2019          statement+contributions + purchases/
         Case 2:20-cv-01698-JDC-KK Document 1-1 Filed 12/29/20 Page 64 of 72 PageID #: 71




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3LAN DETAILS                              Standard                                                                   Change plan


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 • "-
  Standard fOr $12.99/month
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 ernber    p ices are billed at the beginning of each period and may fake a few days after the billing date to appear on your account. Sales tax may apply.




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1/10/20                 Streaming Service                     1/10/20-2/9/20                               VISA "•‘••"•            1048                       $12..99
1 2/10/19               Streaming Service                     12/10/19-1/9/20                              VISA   """"".• 1048                                $12.99
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1 0/10/19               Streaming Service                     10/10/19-11/9/19                             VISA ------- --- 1048                              $12.99
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ill 0/19                Streaming Service                    5/10/19-6/9/19                                VISA. --am ---- 1048                               $12.99

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                 Robby Dean Savoie
         Aug,ust22,.4.969 .November 23,2019




          Robby Dean Savoie is called Unite to be with               ;
            the Lord at 11:03 pm on NI ovembee 23,.201%
              Kindly members were.by his side when lie
           denartedfor heaven. Robby was born in Lake
                      CIfades on Attpist 22. 191;9.
            He attentlet MENeese I ;niverdly and LSI IE.
           He worked at Memorial Hospital as a lab tech
         starthr;in his teens, as he polluted a degree. .1-k
            was then hired by Sianbland College to teach
         Phlebotomy. 'He wrote the curriculum appo wed
          by the 1.onisiana Department of FAltwation and
              the National Phlebotinny Assoattion. He
            eventually became selfempl,nett and esti,wed
                           being his omi boss.
              Robby never Met a stranger and was always
            available to help Pen*. He waN an extreinvlY
         intelligent man %rho could accomplish just alit nu
                                 any task.
          Those leli to Hanish Its memories an his wile
            AlliSonlitibodeaux Savoie: his twit sons. Alec
              Dean Savo tie and -Carson Mass Savoie: his
          parents. Paul and Bobbie Savoie; brothers..Patil
         Sinoiejr. and %Ilk. Connie and Kevin Savl de and
          wite,Lori. He is also survived by SeVeral
            InIntS Mei COnSillS, nephews Ryan and Ashton
               Savoie. Blake itntl'iVilr flekn. andiooll m
         Rogers, Aitlen•Rogers,:uttliiihn              Rogers
     •                 and Meer Madisiin _Rogers.
          lime litmily_imultHike toIlumkthe doctors and
           InlINCS.nttake Charles Memorial.ICl           their
         onimassionate c:an: with special thanks to Dr. R.
                            -Craig BrouSsanl.
         Robby's Wish was lOr hisloved ones to always put            t
              .their might tsnt !inward; looking hopelidly
          tinvards the futtuv-while meeting every challenge
                         nitIvadiseehting mind.
           'Funeral'arningenients-are as follows: Visitation
             lbeialay atJOlinsowninend.HOme on Lake
               Street front:00o                WednestlaY
         visitation from 10;tm.toI 1:00,anruith the service
                  immeiliatelyfolknving. Brother Alan
           Weishampel'Will officiate mat the burial will be
                at Higlikinil•Memory(;ardens,under_the
                  direction of,JOhnsim Funeral-Home.
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